         Case 1:18-cv-10506-ADB Document 298 Filed 03/11/21 Page 1 of 3




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Via Electronic Case Filing System

The Honorable Donald L. Cabell
Judge for the United States District Court for the District of Massachusetts
Joseph Moakley United States Courthouse
Courtroom No. 17, 5th Floor
1 Courthouse Way
Boston, Massachusetts 02210

March 11, 2021

       Re:     Discovery Dispute in Katz v. Liberty Power Corp., LLC, No. 1:18-cv-10506

Dear Judge Cabell:

        Defendants’ February 25, 2021 letter advised the Court that Defendants served verified
supplemental responses to Interrogatories 2 and 3 (ECF. No. 291). But Defendants’ response to
Interrogatory 2 (a copy of which is attached hereto as Exhibit A) remains incomplete. At the
hearing, the Court indicated it intended the parties’ process would “yield the heartland of what is
being sought through the interrogatory,” and expressly expanded the parties’ process for
answering Interrogatory 2 beyond a search for one type of document. (Hrg. Tr. at 28:7-8; 30:17-
21 (“defendant will do a search of the subject line of the e-mail, in particular, Channel Partner
Questionnaire would be a term that would be included, among others, that the parties might
decide should also reasonably be included”).)

        First, the response omits at least one telephone dialer used by Liberty’s telemarketers
identified in Liberty’s own documents.1 It is unclear why this additional dialer was not disclosed.
Because the responses to Interrogatories 2 and 3 were made “[s]ubject to and without waiving
objections,” Plaintiffs do not know if other dialers and databases unknown to Plaintiffs are being
withheld on the basis of some objection or for lack of diligence in responding to discovery. See
Exhibit A.


1
    The response omits the Aspect dialer used by PC4, identified in row 5 of the “Call Upload
    Process (FTP)” tab in the spreadsheet titled Telesales Capability Matrix - Dispositions and
    Call 1 Log.xlsx. (LP_055058, 56867, 869.) On February 28, Defendants searched for
    “capability matrix” and agreed to review the “16 hits” but Defendants have not supplemented
    the interrogatory or committed to doing so by a particular date.
         Case 1:18-cv-10506-ADB Document 298 Filed 03/11/21 Page 2 of 3




Honorable Donald L. Cabell
March 11, 2021
Page 2


        Second, the response to Interrogatory 2 is incomplete because it does not fully respond to
the call of the interrogatory, which states “[f]or each telephone dialing equipment, system or
software, state (a) the name and address of the company that uses or used such telephone dialing
equipment, systems or software; and (b) the time period it was used.” The current responses
merely list thirteen (13) dialers without identifying which entity used which dialer, and neither
identifies which company used the dialer nor does it provide the dates of use. See Exhibit A. At
the hearing, Plaintiffs explained that questionnaires completed by telemarketers identified which
dialer they used when. However, Defendants only ever produced a single additional
questionnaire—which conflicts with the rest of the record. (Cf. ECF No. 290 at 1 n. 1.)
Defendants have not produced questionnaires or equivalent documents for any of the other
dialers identified in the answer to Interrogatory 2, and they refuse to correct this deficiency.2

        Interrogatory 2 seeks basic, core class discovery. Plaintiffs need Interrogatory 2 not only
to identify the telemarketers’ dialers as “automatic telephone dialing systems” within the
meaning of the Telephone Consumer Protection Act (47 U.S.C. § 227(a)), but also to determine
which calls were by which telemarketers when, so that they can locate relevant call records and
assemble class lists identifying class members.

        Defendants argue that Plaintiffs failed to argue or seek relief on some of these issues—
but these issues only arose after Defendants provided new, incomplete response after the
February 1 hearing, and then after Plaintiffs identified discrepancies in Defendants’ own
documents. Defendants took the position Plaintiffs’ effort to meet and confer with Defendants to
corrected the record before the Court “violates 28 USC [§] 1927.” It appears that the parties will
not resolve discovery disputes until and unless the Court affirmatively confirms they were
resolved.3 Plaintiffs’ experience of Defendants’ evolving discovery responses is not unique. The
State of Connecticut, Public Utilities Regulatory Authorities, has concluded Defendants deny
what they can, and admit only what they must in discovery:

       Throughout the hearing, it was shown that Liberty supplied inaccurate information in its
       interrogatory answers – information that was readily contradicted by its witnesses. This
       leads the Authority to wonder who prepared Liberty’s interrogatory answers and if
       Liberty takes seriously its obligations regarding candor to this tribunal. Moreover,
       Liberty revised many of its interrogatory answers multiple times (the last revision coming
       at 8:16 p.m. the night before the first hearing), not due to updates in policies, but due
       either to inaccuracies in the original answers or Liberty’s desire to tweak the answers to
       serve its needs. Liberty hid behind the volume of interrogatories (a volume of which the


2
    Cf. Fed. R. Civ. P. 33(d) (option to produce business records requires Defendants to specify
    relevant documents “in sufficient detail to enable the interrogating party to locate and
    identify them as readily as the responding party could”).
3
    For instance, Defendants’ new answer resolves the dispute over Interrogatory 3.
         Case 1:18-cv-10506-ADB Document 298 Filed 03/11/21 Page 3 of 3




Honorable Donald L. Cabell
March 11, 2021
Page 3


       Authority was well aware as it read and studied every interrogatory prior to the hearings)
       and claimed that it was not required to leave no stone unturned in responding to an
       interrogatory.

See Exhibit B, July 2019 Decision, at 29 in Application of Liberty Power Holdings, LLC for an
Electric Supplier License – Review of Allegations of Consumer Protection Violations; Docket
No. 06-12-07re07.

        For these reasons, Plaintiffs respectfully request that the Court grant an order requiring
Defendants to supplement Interrogatory 2 with the information requested in subparts (a) and (b)
and with respect to Interrogatories 2 and 3, to withdraw their objections or state what information
is being held on the basis of their objections.


                                                     Sincerely,



                                                     Grace E. Parasmo




                                CERTIFICATE OF SERVICE

I, Grace Parasmo, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).

Dated: March 11, 2021                        By:
                                                            Grace E. Parasmo
